                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF
                                    PENNSYLVANIA

 CRAWL SPACE DOOR SYSTEM, INC.                       :
                                                     :
                                                     :
                      PLAINTIFF,                     :
              v.                                     :
                                                     :
 WHITE AND WILLIAMS, LLP                             :         2:22-cv-04698-GAM
                                                     :
                                                     :
                       DEFENDANT.                    :


                   OPPOSITION TO DEFENDANT’S MOTION TO DISMISS


I.     COMPULSORY COUNTERCLAIM

                                         BACKGROUND

       The malpractice claim alleged in the Amended Complaint (the “Complaint) of Crawl Space

Door System, Inc. d/b/a Crawl Space Door Systems, Inc. (“Crawl Space”) should not be

considered compulsory under Third Circuit nor Fourth Circuit jurisprudence. Rather, the

malpractice claim is a permissive counterclaim pursuant to Fed. R. Civ. P. 13 (a) and caselaw

analyzing the issue. As the analysis below will demonstrate, Crawl Space’s malpractice claim filed

in this Court does not arise out the same transaction or occurrence that is the subject matter of the

opposing party’s claim. Rather, the claim for attorney’s fees filed by Philadelphia Professional

Collections, LLC (“PPC”) in the Philadelphia Court of Common Pleas is almost entirely unrelated

to Crawl Space’s malpractice claim in both law and fact. In fact, the only similarity that the two

claims share is the fact that both causes of actions occurred during White & Williams, LLP’s

(“White & Williams”) representation of Crawl Space. Otherwise, the two claims are substantially



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different in terms of the facts at issue and law applied in determining the merits of the claims.

Therefore, this Court should deny White & Williams motion to dismiss.

                                          ARGUMENT

       a)      The Application of Third Circuit Law is Improper

       It is well established that questions of procedure are governed by the law in which the

forum sits. See Flame S.A. v. Feight Bulk Pte. Ltd., 762 F.3d 352, 363 (4th Cir. 2014) (Wilkinson,

J. concurring in matters of procedure). Due to its inherent procedural nature, the characterization

of Crawl Space’s malpractice claim should be determined pursuant to the law of the Fourth Circuit.

       Where a civil action has been transferred from one district court to another upon motion of

a defendant under Fed. R. Civ. P. § 1404(a), when facing a choice of law the transferee court must

apply the law of the transferor jurisdiction. Van Dusen v. Barrack, 376 U.S. 612, 639 (1964).

       This Court has also recognized (citing to 4th Circuit precedent) that a transfer of venue

under Fed. R. Civ. P. § 1404 does “justify the rather startling conclusion that one might get a

change of law as a bonus for change of venue.” Premier Payments Online, Inc. v. Payment Systems

Worldwide, 848 F.Supp.2d 513, 526 (E.D.Pa. 2012), quoting Volvo Construction Equipment North

America, Inc. v. CLM Equipment Co., 386 F.3d 581, 600 (4th Cir. 2004) (quoting Van Dusen, 376

U.S. at 635-36).

       Therefore, Fourth Circuit and Virginia law applies to whether or not the underlying claim

in this case was a compulsory counterclaim and not the law of this Circuit or Pennsylvania.

Nevertheless, Crawl Space’s malpractice claim should be characterized as a permissive

counterclaim to PPC’s claim for attorneys’ fees regardless of whether Third Circuit or Fourth

Circuit jurisprudence is applied.




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       b)      Fourth Circuit Analysis

       In Sue and Sam Mfg. Co. v. B-L-S Const. Co., 538 F.2d 1048 (4th Cir. 1976), the Fourth

Circuit Court of Appeals provided an analysis used to determine whether claims shall be

characterized as compulsory or permissive under Fed. R. Civ. P 13 (a). This Court established a

four-prong analysis to make this determination, and further qualified the analysis by stating “there

is no inflexible rule for determining whether a counterclaim is compulsory or permissive[.]” Id. at

1051 – 1053.

       The analysis promulgated in Sue and Sam Mfg. Co., 538 F.2d at 1051 – 53 considers four

questions. First, the test asks whether the issues of fact and law raised by PPC’s claim and Crawl

Space’s claim are largely the same Id. at 1051. The second prong asks whether res judicata would

bar a subsequent suit on Crawl Space’s claim, absent the compulsory counterclaim rule. Id. at

1052. The third prong asks whether substantially the same evidence would support or refute PPC’s

claim and Crawl Space’s claim. Id. The fourth and final prong asks whether there exists a logical

explanation between PPC’s claim and Crawl Space’s claim. Id. at 1053.

       In Sue and Sam Mfg. Co., 538 F.2d at 1049, a roof leak allowed rainwater to penetrate the

structure and damage goods. The manufacturer of the goods filed a diversity action against the

building owner-lessor. Id. The owner-lessor filed a third-party complaint against the lessee, who

in turn filed counterclaims based on negligent construction against the lessor for damage stemming

from the rain damage and damage caused by a roof collapse during a snow storm, which occurred

two years later. Id. at 1053.

       In relation to the first prong, the Court in Sue and Sam Mfg. Co., 538 F.2d at 1051 found

that, in relation to the first of the counterclaims, the lessee had earlier asserted negligent

construction as a ground for defense. As a result of this posited defense, the claim and counterclaim



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both considered the same issues of law and fact. Id. In the present case, the facts and law

surrounding the claim and counterclaim are almost entirely dissimilar. PPC’s claim for attorneys’

fees is essentially a claim for breach of contract, while Crawl Space’s malpractice claim focuses

on White & Williams’ negligence and breach of duty occurring during a narrow period of its

representation of Crawl Space during the New Jersey litigation, which resulted in severe damages

to Crawl Space’s antitrust claim pending in the Eastern District of Virginia. The claims, facts

considered, and law applied are wholly dissimilar. In addition, Crawl Space, did not assert

malpractice or negligence as a defense to PPC’s claim in Pennsylvania. In fact, Crawl Space’s

defense to PPC’s claim is merely that the fees are not reasonable, and as a result, White & Williams

breached its contract with Crawl Space. In Sue and Sam Mfg. Co., 538 F.2d at 1051 -52, the reason

for which the claim and counterclaims shared any substantial factual or legal similarities is because

the lessee posited negligence as defense to the claim asserted against it. The facts in the present

case are different. Crawl Space asserted no claims of malpractice as a defense and did not demand

an associated offset. As a result, the issues of fact and law raised by PCC’s claim and Crawl

Space’s claim are almost entirely unrelated to each other.

       Shifting to the second prong, the Court in Sue and Sam Mfg. Co., 538 F.2d at 1052 found

that one of the lessee’s counterclaims would be barred by res judicata, absent the compulsory

counterclaim rule, because the initial proceeding ruled on the issue of negligence as a defense. The

claim for snow damage, on the other hand, would not be barred because it was entirely independent

and not addressed in the earlier proceeding. The Court found that the facts were entirely different

and had no connection to the other claims Id. at 1053. In the present case, res judicata would not

bar this suit. PPC’s claim in Pennsylvania is currently pending and it will not address the issue of

White & Williams’ negligence because Crawl Space did not plead it as a defense to PPC’s claims.



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Rather, in the Pennsylvania case, Crawl Space is contending that White & Williams’ fees were not

reasonable, and therefore breached its contractual duties to Crawl Space. Consequently, Crawl

Space satisfies the second prong of the analysis. In fact, Crawl Space could not assert malpractice

as a defense to any matter relating to the litigation because such determinations are shielded under

the law as a reasoned judgment.

       Transitioning to the third prong, the court in Sue and Sam Mfg. Co., 538 F.2d 1052 - 53

found that the only substantial similarities among the evidence concerning the claim and

counterclaims stemmed from the negligent construction issue being presented both as a ground for

defense and a substantive cause of action in the first counterclaim. Unlike in Sue and Sam Mfg.

Co. v. B-L-S Const. Co., 538 F.2d at 1052-53, Crawl Space did not assert negligence as a defense

PPC’s claim in Pennsylvania. Rather Crawl Space, in its answer, asserted that the fees were

unreasonable and not consistent with the agreement entered into by and between Crawl Space and

White & Williams. The relevant evidence and law concerning the malpractice claim are almost

wholly unique and independent from that which will be presented in the matter PPC filed in

Pennsylvania. The evidence presented in the Pennsylvania case will almost entirely relate to the

work performed by White & Williams in its representation of Crawl Space, in an effort to

determine whether White & Williams charged reasonable attorneys’ fees in its representation of

Crawl Space.

       To the contrary, the evidence presented in Crawl Space’s malpractice claim substantially

relates to the negligent behavior and resulting damages to Crawl Space’s pending antitrust claims

asserted against White & Williams in the Eastern District of Virginia. The only similarity shared

among PPC’s claim and Crawl Space’s claim is the fact that they both we caused by White &




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Williams actions during the representation of Crawl Space in the New Jersey litigation. The vast

majority of evidence and law to be applied in adjudicating the claims is dissimilar and unrelated.

          Finally, in analyzing the fourth prong of the test, this Court in Sue and Sam Mfg. Co., 538

F.2d at 1053 found that any logical relationship between the claim and counterclaims stems from

the lessee’s assertion of negligent construction as a defense to the lessor’s claim for damages. As

a result, both the claim for damages and the counterclaim substantially involved the same facts

and legal analysis to be presented. Id. As discussed above, the present matter is distinguishable

because the facts and law relevant to the claim filed by PPC in Pennsylvania is unique from that

to be presented in Crawl Space’s claim in this Court. In the present matter, the claims are

fundamentally unrelated and do not involve an offset establishing a relationship between the

claims.

          The Fourth Circuit revisited this analysis in Painter v. Harvey, 863 F.2d 329 (4th Cir. 1988).

In this case, an arrestee filed a civil rights complaint against the arresting officer on the basis of

use of excessive force during the arrest. Id. at 330. The arresting officer counterclaimed, asserting

that the arrestee falsified the complaint and thereafter committed libel and slander against the

arresting officer. Id. The Court of Appeals applied the analysis presented in Sue and Sam Mfg. Co.

v. B-L-S Const. Co., 538 F.2d 1048 (4th Cir. 1976). In its opinion, this Court stressed the

importance of evidentiary similarity in making its determination regarding compulsory

counterclaims. Id. at 331. The Court found that the same evidence supported and refuted both the

claim and the counterclaim. Id. at 332. All relevant evidence related to the events that transpired

during the arrest. Id.

          In the present matter, on the other hand. The evidence presented by the parties in relation

to the claim for attorneys’ fees will be almost entirely different from the evidence presented by the



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parties in relation to the malpractice claim. The claim for attorneys’ fees will attract evidence

documenting the actual services performed by White & Williams and whether the associated fees

are reasonable. In relation to the claim for malpractice, substantially all evidence will relate to the

duty of care owed by White & Williams in relation to its representation of Crawl Space, whether

that duty was breached during the course of the representation and resulting damages. The claims

are so substantially unique and independent that there will no repetitive litigation of the same facts

or law. Allowing the malpractice claim to be heard by this Court will not betray the ideals of

judicial economy or efficiency. See Transamerica Life Ins. Co. v. Aviation Off. Of Am., Inc., 292

F.3d 384, 389-90. In addition, PPC’s claim for attorneys’ fees and Crawl Space’s claim for

malpractice are so substantially different that there exists no possibility of inconsistent rulings. See

id. Either party could prevail on one or both claims and the decisions would not conflict or frustrate

the judicial process of the other. In other words, the decisions rendered by the Pennsylvania Court

and the Virginia Court are not mutually exclusive. By way of example, if PPC were to prevail in

its claim against Crawl Space in the Pennsylvania case for attorneys’ fees, it would not be

inconsistent or conflicting if Crawl Space were to prevail in its malpractice claim in this Court.

Neither ruling would fly in the face of the other.

       c. Third Circuit Analysis

       In the alternative, in the event it is deemed that Third Circuit law shall apply, the analysis

discussed below will also demonstrate that Crawl Space’s claim for legal malpractice should not

be characterized as a compulsory counterclaim. The Third Circuit adopted an analysis for

determining whether a claim should be characterized as a compulsory counterclaim in Great Lakes

Rubber Corp. v Herbert Cooper Co., 286 F.2d 631 (3d Cir. 1961). This analysis established that




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the operative question in making this determination is whether the claim in question bears a logical

relationship to an opposing party’s claim. Rubber Corp., 286 F.2d at 634.

        In its opinion, the Court stated:

        [A] counterclaim is logically related to the opposing party's claim where
        separate trials on each of their respective claims would involve a substantial
        duplication of effort and time by the parties and the courts. Where multiple
        claims involve many of the same factual issues, or the same factual and legal
        issues, or where they are offshoots of the same basic controversy between
        the parties, fairness and considerations of convenience and of economy
        require that the counterclaimant be permitted to maintain his cause of
        action. Indeed, the doctrine of res judicata compels the counterclaimant to
        assert his claim in the same suit for it would be barred if asserted separately,
        subsequently.
        Great Lakes Rubber Corp.,286 F.2d at 634.
        In Xerox Corp. v. SCM Corp., 576 F.2d 1057, 1059 (3d Cir. 1978), the Court of Appeals

refined the above-described analysis and formed a three-prong inquiry, which remains applicable

in the present matter. First, the Court will consider whether the claims share many of the same

factual issues. Id. Second, the court will determine whether the claims consider the same factual

and legal issues. Id. Third, the court shall consider whether the claims are offshoots of the same

basic controversy between the parties. Id.

        In Xerox Corp., 576 F.2d at 1058, the defendant in a patent infringement case moved to

dismiss the claim, arguing the plaintiffs claim was a compulsory counterclaim and needed to be

asserted in the prior pending matter, in which the defendant asserted antitrust claims. The Third

Circuit Court of Appeals held that the defendant failed to demonstrate that the plaintiff’s patent

infringement claim arose out of the same transaction or occurrence involved in the pending

antitrust case. Id. at 1060.


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        In its opinion, the Court found that there were very few factual similarities, and that patent

infringement was not at all involved in the pending antitrust lawsuit. Id. at 1060-61. Further, the

court concluded that litigation of the patent infringement claim, as a separate matter, “would not

substantially duplicate the time and effort spent in the [antitrust] litigation.” Id. at 1060. Lastly the

court stated, “the factual proof of validity and infringement is vastly different from proof of and

antitrust violation or patent misuse.” Id.

        The facts and comparisons in the present matter substantially parallel those explained in

the Court’s opinion in Xerox Corp. v. SCM Corp., 576 F.2d 1057, 1059 (3d Cir. 1978). The issue

of negligence or legal malpractice is not contemplated in the pleadings of the matter filed by PPC

in Pennsylvania. PPC is asserting a claim for attorney’s fees, a breach of contract claim, and as a

defense, Crawl Space is asserting that the fees are not reasonable. The issue of negligence is not

addressed in that matter, so there exists very few factual similarities between the claims, aside

from the fact that both claims occurred during White & Williams representation of Crawl Space

in the New Jersey litigation. Even so, the two claims consider almost entirely different facts and

are unrelated. In addition, the legal analysis involved in a claim for attorneys’ fees is wholly

different from the legal analysis involved in a legal malpractice claim. PPC’s claim relates to

breach of contract, while Crawl Space’s relates to the duty of care and White & Williams breach

thereof. Due to the unique and distinguishable nature of the facts and legal analyses specific to

each claim, allowing the malpractice claim to proceed in this court would not substantially

duplicate the time and effort spent in the pending Pennsylvania case.

        As discussed in the Great Lakes Rubber Corp. v Herbert Cooper Co., 286 F.2d 631 (3d

Cir. 1961) opinion, and reiterated in the Xerox Corp. v. SCM Corp., 576 F.2d 1057, 1059 (3d Cir.

1978) opinion, judicial economy and efficiency is an important consideration when conducting a



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compulsory counterclaim analysis. As the facts discussed above indicate, PPC’s claim and Crawl

Space’s claim are so substantially unique that there would not exist repetitive litigation or

decreased efficiency in allowing Crawl Space’s claim to be heard in this Court.

       As previously discussed in subsection (b), White & Williams expresses concern over the

possibility of inconsistent rulings. Although inconsistent rulings are an entirely legitimate concern

to courts and the overall judicial process, this concern is not founded in the present instance. A

ruling favorable to PPC in the Pennsylvania attorneys’ fees matter and a ruling favorable to Crawl

Space in the present matter will not cause inconsistencies. These results are not mutually exclusive.

As an affirmative defense, Crawl Space is alleging that the amount of attorneys’ fees demanded

by White & Williams is unreasonable; the proceeding in Pennsylvania will determine a reasonable

measure of attorneys’ fees for the services rendered. In the present matter, Crawl Space may

prevail on its malpractice claim, while still owing reasonable attorney’s fees to PPC. This

possibility is justifiable, rational, and could occur without causing detriment to the judicial system.

White & Williams’ concerns are unfounded.

       Finally, in its Memorandum in Support of Motion to Dismiss, White & Williams asserts

that a legal malpractice claim must be brought as a counterclaim in response to a party’s claim for

attorneys’ fees. Upon review of the Third Circuit jurisprudence on the matter, the present matter

is entirely distinguishable from the caselaw cited by White & Williams. The Pennsylvania Middle

District case cited by White & Williams involved a claim for fees to which the defendant asserted

malpractice as a defense. Geisinger Medical Center v. Gough,160 F.R.D. 467, 468 (M.D. Pa.

1994). Due to this minor yet critical detail, the claims in the cases at issue in Geisinger bear a

logical relationship and are therefore an offshoot of the original claim, pursuant to Third Circuit

analysis. Id. at 469 (citing Xerox Corp., 576 F.2d at 1059). However, the present case is



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distinguishable because Crawl Space did not assert malpractice as a defense to PPC’s claim for

attorneys’ fees. Consequently, that logical relationship was never established between the two

cases. Crawl Space’s defense to PPC’s claim for fees is the assertion that the fee was not

reasonable. Negligence, the foundation of the malpractice claim, is not addressed in the

Pennsylvania case pleadings because it is not the reason for which Crawl Space is challenging the

validity of the measure of attorneys’ fees. As such, there bears no substantial similarities in fact or

law between the claims. Consequently, Crawl Space respectfully requests that this court deny

White & Williams motion to dismiss the claim on the basis of Fed. R. Civ. P. 13 (a).

       The additional cases cited by White & Williams contending that malpractice claims must

be filed as compulsory counterclaims to claims for attorneys’ fees are also distinguishable from

the present matter. In L. Offs. Of Jerris Leonard, P.C. v Mideast Sys., Ltd., 111 F.R.D. 359, 360-

61 (D.D.C. 1986), the defendant failed to respond to the plaintiffs claim for attorneys’ fees. The

defendant subsequently attempted to file a malpractice claim. Id. at 360. This case is

distinguishable because the defendant failed to respond to the plaintiffs claim for fees entirely. Id.

at 360-61. In the present case, Crawl Space responded, asserting the unreasonableness of the fees

as a defense. Further, in L. Offs. Of Jerris Leonard, P.C.,111 F.R.D. at 361, the determination to

bar the subsequent malpractice claim was based on the conclusion that “the testimony and

documents necessary to litigate both claims are substantially the same.” For the reasons discussed

above, the factual determinations and legal issues relating to PPC’s claim for attorneys’ fees and

Crawl Space’s malpractice claim are almost entirely separate and unique. There would not be

substantial duplicative or repetitive litigation as the claims are almost entirely independent and the

analysis is unique from each other.




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          Yarn v. Hamburger L. Firm, LLC, No. Civ.A. 1:12-03096, 2014 WL 2964986, at *4 (D.

Md. June 30, 2014) (unreported), is also distinguishable in that, in its responsive pleadings, the

defendant made a claim for recoupment, which established the logical relationship among the

claims. The recoupment claim an offset, which intimately connects the claim. There exists no such

connection in the present matter; the malpractice claim is entirely unrelated to PPC’s claim for

attorneys’ fees in fact, law, and the respective pleadings.

          White & Williams asserts that courts have almost unanimously held that malpractice claims

are compulsory counterclaims when there exists a claim for fees. Cumberland Farms, Inc. v.

Lexico Enterprises, Inc., No. 10-CV-4658 ADS AKT, 2012 WL 526716, at *8. White & Williams

has failed to recognize that these cases all have glaring differences from the present case, which

justify a different determination. In almost every case, the defendant filing the subsequent

malpractice claim is rightly barred from doing so because that defendant asserted negligence as an

affirmative defense, or an offsetting recoupment claim in the prior proceeding. See Geisinger

Medical Center, 160 F.R.D. at 469-470; see also Yarn v. Hamburger L. Firm, LLC, No. CIV.A.

1:12-03096, 2014 WL 2964986, at *4 (D. Md. June 30, 2014) (unreported). Further, the Court in

L. Offs. Of Jerris Leonard, P.C., 111 F.R.D. at 361 ruled the malpractice claim to be a compulsory

counterclaim, in part because the defendant failed entirely to respond to the claim for fees, and

also because “the testimony and documents necessary to litigate both claims [were] substantially

the same.”

          Conversely, PPC’s claim and Crawl Space’s claim share practically no similarities in law

or fact for the reasons discussed above. The relevant facts and legal analysis pertaining to each

claim is unique to the extent that there would be practically zero overlap in fact or law among the

claims.



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                          CONCLUSION AND PRAYER FOR RELIEF

       White & Williams has failed to establish that Crawl Space’s claim for legal malpractice

must be characterized as a compulsory counter claim under both Third Circuit and Fourth Circuit

analyses. PPC’s claim for attorneys’ fees and Crawl Space’s legal malpractice claim do not share

any substantial similarities in fact nor in legal analyses. The two claims share no logical

relationship, and therefore, may be adjudicated in separate proceedings. Consequently, Crawl

Space respectfully requests that this Court deny White & Williams’ motion to dismiss the

complaint.



Dated: January 20, 2023
                                                      Respectfully Submitted,

                                                      /s/ Casey Green
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                                CERTIFICATE OF SERVICE

       I hereby certify that I electronically filed the within Response in Opposition to Motion to

Dismiss with the Clerk of Court using the CM/ECF system, and I hereby certify that I have

thereby electronically served this document upon all counsel of record who are registered with

the Court’s CM/ECF system.

Dated: January 20, 2023


                                                     /s/ Casey Green
                                                     Casey Green, Esquire




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